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                              DECLARATION OF MARY CARLETON

        I, the undersigned, Mary Carleton, pursuant to 28 U.S.C. § 1746, declare that:

        1.    My name is Mary Carleton, I am over twenty-one years of age, and I have personal

  knowledge of the matters set forth herein.

        2.    I own a company called CapJet (the "Company"), which is located in Houston, Texas.

        3.    In August of 2019, Complete Business Solutions Group ("CBSG") made a loan to my

  Company in the amount of $112,536.13 (the "Loan") through what CBSG calls its "merchant capital

  advance" ("MCA") business.

        4.    I applied to Fast Advance Funding a broker for the Loan and was the contact with CBSG

  on behalf of my Company during the Loan application process and CBSG' s underwriting process.

        5.    CBSG did not perform an on-site inspection of my Company prior to approving the Loan,

  or at any other time.

        6.    At no time did CBSG offer me or my Company insurance of any kind.

        7.    CBSG did not request information from me or the Company about the Company's expenses

  during the underwriting process or at any other time prior to approving the Loans.

         8.   CBSG did not request information from me or the Company about the Company's profit

  margins during the underwriting process or at any other time prior to approving the Loans.

         9.   CBSG did not request information from me or the Company about the Company's account

  receivables during the underwriting process or at any other time prior to approving the Loans.

         10. CBSG did not request a debt schedule for the Company during the underwriting process or

   at any other time prior to approving the Loans.

         11. CBSG assigned the Company a liaison, but the liaison never returned my telephone calls.

         I declare under penalty of perjury that the foregoing is true and correct.

   Executed on July 7, 2020, in H o u s t o n , ~

                                                              lid:::
                                                 Mary arleton
